        Case 13-13453        Doc 38 Filed 02/27/14 Entered 02/27/14 11:50:26                Desc Order
                                 Disch. Trustee Close CS Page 1 of 1
                                 UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MASSACHUSETTS


In re     John R. Dalferro                                      Chapter: 7
                                                                Case No: 13−13453
          Debtor                                                Judge Frank J. Bailey



                                    ORDER DISCHARGING TRUSTEE
                                        AND CLOSING CASE




It is hereby ORDERED that Warren E. Agin, the Trustee is discharged from any further duties herein and that this
case is hereby closed pursuant to 11 U.S.C. § 350(a).




Date:2/27/14                                                    By the Court,

                                                                Frank J. Bailey
                                                                U.S. Bankruptcy Judge
